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10

11                       UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13

14 DAVID WEATHERSBY and JULIE       )        CASE NO.
     WEATHERSBY,                    )
15                                  )
                                    )        COMPLAINT FOR VIOLATIONS OF
16                      Plaintiffs, )        THE FEDERAL FAIR DEBT
                                    )        COLLECTION PRACTICES ACT;
17          vs.                     )        CALIFORNIA ROSENTHAL FAIR
                                    )        DEBT COLLECTION PRACTICES
18   EMPIRE MEDIA MARKETING,        )        ACT; NEGLIGENT INFLICTION OF
     LLC, EMPIRE MEDIA MARKETING )           EMOTIONAL DISTRESS;
19   II, ASSET RECOVERY BUREAU,     )        INTENTIONAL INFLICTION OF
     LLC, ASSET RESEARCH BUREAU, )           EMOTIONAL DISTRESS
20   TASHA GALLAGHER, and DOES 1- )
     10, Inclusive                  )        JURY DEMANDED
21                                  )
                        Defendants. )
22                                  )
                                    )
23

24

25

26         COMES NOW the Plaintiffs, DAVID WEATHERSBY and JULIE
27 WEATHERSBY (“Plaintiffs”), by way of Complaint against the Defendants, say:

28

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                                      COMPLAINT
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 1                          I. PRELIMINARY STATEMENT
 2         1.    DAVID WEATHERSBY and JULIE WEATHERSBY (“Plaintiffs”),
 3 through Plaintiffs’ attorney, brings this action to challenge the actions of EMPIRE

 4 MEDIA MARKETING, LLC, EMPIRE MEDIA MARKETING II, ASSET

 5 RECOVERY BUREAU, ASSET RESEARCH BUREAU, and TASHA

 6 GALLAGHER (“Defendants”), with regards to attempts by Defendants to

 7 unlawfully and abusively collect a debt allegedly owed by Plaintiffs, and this

 8 conduct caused Plaintiffs damages.

 9         2.    Plaintiffs make these allegations on information and belief, with the
10 exception of those allegations that pertain to Plaintiffs, or to Plaintiffs’ counsel,

11 which Plaintiffs allege on personal knowledge.

12         3.    While many violations are described below with specificity, this
13 Complaint alleges violations of the statutes cited in their entirety.

14         4.    Unless otherwise stated, all the conduct engaged in by Defendants
15 took place in California.

16         5.    Any violations by Defendants were knowing, willful, and intentional,
17 and Defendants did not maintain procedures reasonably adapted to avoid any such

18 violation.
19                          II. JURISDICTION AND VENUE
20         6.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15
21 U.S.C. § 1692(k), and 28 U.S.C. § 1367 for supplemental state claims.

22         7.    This action arises out of Defendants’ violations of the Fair Debt
23 Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal

24 Fair Debt Collection Practices Act, California Civil Code §§ 1788-1788.32

25 (“Rosenthal Act”).

26         8.    Because Defendants do business within the State of California,
27 personal jurisdiction is established.

28         9.    Venue is proper pursuant to 28 U.S.C. § 1391.
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 1                                    III. PARTIES
 2        10.   Plaintiff David Weathersby is a natural person who resides in the City
 3 of Murrieta, County of Riverside, State of California.

 4        11.   Plaintiff Julie Weathersby is a natural person who resides in the City
 5 of Murrieta, County of Riverside, State of California.

 6        12.   At all times relevant to this Complaint, Defendant Empire Media
 7 Marketing, LLC was a California Limited Liability Company whose principal

 8 place of business is 40119 Murrieta Hot Springs Road, A103, Murrieta, CA 92563.

 9        13.   At all times relevant to this Complaint, Defendant Empire Media
10 Marketing II was a California Corporation whose principal place of business is

11 31566 Railroad Canyon Road, #602, Canyon Lake, CA 92587 and/or 361 Railroad

12 Canyon Road, #B, Lake Elsinore, CA 92532.

13        14.   At all times relevant to this Complaint, Defendant Asset Recovery
14 Bureau, LLC was a California Limited Liability Company whose principal place of

15 business is 26810 Ynez Road #C, Temecula, CA 92591 and/or 2105 Esperanza

16 Drive, Concord, CA 94519.

17        15.   At all times relevant to this Complaint, Defendant Asset Research
18 Bureau was a California Company of unknown organization whose principal place
19 of business is 26810 Ynez Road #C, Temecula, CA 92591 and/or 31566 Railroad

20 Canyon Road, #602, Canyon Lake, CA 92587.

21        16.   Defendant Tasha Gallagher is a natural person who works for
22 Defendants Empire Media Marketing II, Asset Recovery Bureau, and Asset

23 Research Bureau.

24        17.   Plaintiffs are obligated or allegedly obligated to pay a debt, and are
25 “consumers” as that term is defined by 15 U.S.C. § 1692a(3).

26        18.   Plaintiffs are natural persons from whom a debt collector sought to
27 collect a consumer debt which was due and owing or alleged to be due and owing

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 1 from Plaintiffs, and are “debtors” as that term is defined by California Civil Code §

 2 1788.2(h).

 3        19.    Defendants Empire Media Marketing II, Asset Recovery Bureau,
 4 Asset Research Bureau, and Tasha Gallagher are persons who use an

 5 instrumentality of interstate commerce or the mails in a business the principal

 6 purpose of which is the collection of debts, or who regularly collects or attempts to

 7 collect, directly or indirectly, debts owed or due or asserted to be owed or due

 8 another and are therefore debt collectors as that phrase is defined by 15 U.S.C. §

 9 1692a(6).

10        20.    Defendants, in the ordinary course of business, regularly, on behalf of
11 himself, herself, or others, engages in debt collection as that term is defined by

12 California Civil Code § 1788.2(b), and are therefore debt collectors as that term is

13 defined by California Civil Code § 1788.2(c).

14        21.    This case involves money, property or their equivalent, due or owing
15 or alleged to be due or owing from a natural person by reason of a consumer credit

16 transaction. As such, this action arises out of a consumer debt and “consumer

17 credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).

18        22.    Any acts or omissions of Tasha Gallagher alleged in this Complaint
19 were under the direct control or supervision of Defendants Empire Media

20 Marketing II, Asset Recovery Bureau, Asset Research Bureau and consequently

21 Empire Media Marketing II, Asset Recovery Bureau, Asset Research Bureau are

22 vicariously liable for these acts or omissions.

23        23.    Plaintiffs are informed and believe, and based on said information and
24 belief allege, that at all relevant times mentioned herein, each defendant was the

25 agent, employee, joint venturer, predecessor-in-interest, successor-in-interest, co-

26 conspirator, alter ego or a partner of the other, and in doing the things alleged, was
27 acting in the course and scope of said agency, employment, joint venture or other

28 relationship. Each defendant has authorized, ratified and imposed the acts of the

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 1 remaining defendants and each defendant ratified, entrusted, approved, joined in,

 2 acquiesced and/or authorized the wrongful acts of each co-defendant, and each of

 3 them, as set forth below, and/or retained the benefits of said negligent and/or

 4 wrongful acts.

 5                           IV. FACTUAL ALLEGATIONS
 6        24.     Sometime before April 28, 2014, Plaintiffs are alleged to have
 7 incurred certain financial obligations.

 8        25.     These financial obligations were primarily for personal, family or
 9 household purposes and are therefore a “debt” as that term is defined by 15 U.S.C.

10 §1692a(5).

11        26.     These alleged obligations were money, property, or their equivalent,
12 which is due or owing, or alleged to be due or owing, from a natural person to

13 another person and are therefore a “debt” as that term is defined by California Civil

14 Code §1788.2(d), and a “consumer debt” as that term is defined by California Civil

15 Code §1788.2(f).

16        27.     Sometime thereafter, but before April 28, 2014, Plaintiffs allegedly
17 fell behind in the payments allegedly owed on the alleged debt. Plaintiffs currently

18 take no position as to the validity of this alleged debt.
19        28.     Subsequently, but before April 28, 2014, the alleged debt was
20 assigned, placed, or otherwise transferred, to Defendants for collection.

21        29.     On or about April 28, 2014, Defendant Asset Recovery Bureau, by
22 and through its representative Tasha Gallagher sent a letter to Plaintiffs. This letter

23 was a “communication” as 15 U.S.C. §1692a(2) defines that term, and a “debt

24 collection” as that phrase is defined by Cal. Civ. Code § 1788.2(b).

25        30.     In this letter, marked in bold capital letters “FINAL NOTICE”
26 Defendant stated:
27              Re: Wage Garnishment with Empire Media Marketing II (Payday
                Advance)
28              Dear David & Julie,
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 1              Enclosed please find a Wage Garnishment application, in the
                amount of $2400.00 plus court costs for the money owed to
 2              Empire Media Marketing II.
                Before forwarding this Garnishment to the Sheriff’s Department
 3              for execution, we would rather make some payment arrangements
                in lieu of this legal proceeding.
 4              Please call us in the next five (5) days so we can both avoid this
                time consuming and expensive process.
 5

 6        31.      The message failed to disclose that the communication was from a
 7 debt collector.

 8        32.      The message failed to disclose the purpose or nature of the
 9 communication (i.e., an attempt to collect a debt).

10        33.      The message failed to disclose the consumers’ right to dispute and
11 request verification of the debt within thirty days. The message failed to disclose

12 the consumers’ right to receive the original creditor’s address. The message failed

13 to disclose all collection activity would cease if any of the above information was

14 requested until the information is sent to the consumers.

15        34.      The message falsely represented the legal status of the debt. Plaintiffs
16 have not been sued by Defendant Empire Media Marketing II, nor is there any

17 judgment against Plaintiffs by Defendant Empire Media Marketing II.

18        35.      This caused Plaintiff Julie Weathersby emotional distress as she was
19 worried that her wages would be garnished, and she could possibly lose her job.

20 She had trouble sleeping at night, due to these worries.

21        36.      On or about May 19, 2014, Defendants Asset Research Bureau and
22 Empire Media Martketing, by and through their representative Tasha Gallagher

23 sent a letter to Plaintiffs. This letter was a “communication” as 15 U.S.C.

24 §1692a(2) defines that term, and a “debt collection” as that phrase is defined by

25 Cal. Civ. Code § 1788.2(b).

26        37.      In this letter, Defendant stated:
27        Dear David & Julie,
          We have tried to reach you by telephone and have been unsuccessful, I just
28        wanted to let you know that we have not received a payment on your
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 1        account with our company. Your current balance is $630.00. We would like
          to make reasonable payment arrangements you can live with, outside of
 2        going to small claims court. A payment is currently due at this time.
          Please remit the amount due or a payment in the next 7 days or call us at
 3        (951) 693-1339 to make payment arrangements so that we can avoid further
          legal action.
 4

 5        38.    The message failed to disclose that the communication was from a
 6 debt collector.

 7        39.    The message failed to disclose the purpose or nature of the
 8 communication (i.e., an attempt to collect a debt).

 9        40.    The message failed to disclose the consumers’ right to dispute and
10 request verification of the debt within thirty days. The message failed to disclose

11 the consumers’ right to receive the original creditor’s address. The message failed

12 to disclose all collection activity would cease if any of the above information was

13 requested until the information is sent to the consumers.

14        41.    Once again, this caused Plaintiff Julie Weathersby emotional distress
15 due to worries about losing her job. This caused her to lose sleep as well.

16        42.    On June 18, 2014, Plaintiffs received a call from Asset Recovery
17 Bureau. In that call, the caller was told that Plaintiff was represented by an

18 attorney and to contact their attorney. The caller was given the name and phone
19 number of Plaintiffs’ attorney.

20        43.    On August 8, 2014, someone from Asset Recovery Bureau left a
21 message for Plaintiffs. The call did not state that Asset Recovery Bureau was a

22 Debt Collector. Plaintiff Julie Weathersby returned the phone call from Asset

23 Recovery Bureau and left a message informing them again that Plaintiffs are

24 represented by an attorney and gave them his contact information.

25        44.    On August 28, 2014, someone from Asset Recovery Bureau left a
26 message for Plaintiff David Weathersby. In this message, the caller did not advise
27 Plaintiff that Asset Recovery Bureau was a debt collector.

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 1                              V. CAUSES OF ACTION
 2                                  COUNT I
             FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 3                          15 U.S.C. §§ 1692 ET SEQ.
      (Against Defendants Empire Media Marketing, II, Asset Recovery Bureau,
 4              LLC, Asset Research Bureau, and Tasha Gallagher)
 5        45.    Plaintiffs repeat, re-allege, and incorporate by reference, all other
 6 paragraphs.

 7        46.    The foregoing acts and omissions constitute numerous and multiple
 8 violations of the FDCPA, including but not limited to 15 U.S.C. §1692c(a)2),

 9 §1692d, §1692e, §1692e(2), §1692e(4), §1692e(5), §1692e(9), §1692e(10),

10 §1692e(11), §1692e(13), §1692f, §1692f(1), §1692f(6), §1692g, §1692g(a),

11 §1692g(a)(3), §1692g(a)(4).

12        47.    As a result of each and every violation of the FDCPA, Plaintiff is
13 entitled to any actual damages, including emotional distress, pursuant to 15 U.S.C.

14 § 1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant to 15

15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15

16 U.S.C. § 1692k(a)(3) from Defendants.

17                            COUNT II
           ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
18                       (ROSENTHAL ACT)
                     CAL.CIV.CODE §§ 1788-1788.32
19                      (Against All Defendants)
20        48.    Plaintiffs repeat, re-allege, and incorporate by reference, all other
21 paragraphs.

22        49.    The foregoing acts and omissions constitute numerous and multiple
23 violations of the Rosenthal Act, including but not limited to each and every one of

24 the above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32.

25        50.    As a result of each and every violation of the Rosenthal Act, Plaintiff
26 is entitled to any actual damages, including emotional distress, pursuant to Cal.
27 Civ. Code § 1788.30(a); statutory damages for a knowing or willful violation in the

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 1 amount up to $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable

 2 attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendants.

 3                              COUNT III
             NEGELIGENT INFLICTION OF EMOTIONAL DISTRESS
 4                        (Against All Defendants)
 5         51.   Plaintiffs repeat, re-allege, and incorporate by reference, all other
 6 paragraphs.

 7         52.   Defendants’ outrageous, abusive and intrusive acts as described herein
 8 constituted negligence.

 9         53.   Defendants negligently inflicted emotional distress
10         54.   Defendants breached a duty imposed and failed to exercise ordinary
11 care.

12         55.   Defendants owed Plaintiffs a duty to refrain from unlawful debt
13 collections (California Civil Code §1788 et. seq. and 15 U.S.C. §1692 et. seq.).

14         56.   The breach of such duty proximately caused injury to Plaintiffs.
15         57.   The injury resulted from an occurrence, the nature of which these
16 statutes were designed to protect Plaintiffs from.

17         58.   Plaintiffs are members of the class of persons the statutes were
18 designed to protect.
19         59.   Defendants’ conduct, as described herein, was wrongful conduct in
20 that the Defendants conducted their business in an abusive, oppressive, and

21 harassing manner.

22         60.   Defendants negligently trained, supervised, and retained their
23 employees and agents.

24         61.   Defendants’ wrongful conduct as described herein actually and
25 proximately caused the Plaintiffs severe and serious emotional distress in that the

26 Defendants wrongful conduct has caused harm as described above.
27         62.   It is clearly foreseeable that Defendants’ actions as described herein
28 could cause harm, including severe and serious emotional distress.

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 1         63.   As a direct and proximate result of Defendants’ unlawful conduct,
 2 Plaintiff has suffered damages in an amount to be determined at trial. Defendants’

 3 wrongful conduct as described herein actually and proximately caused the

 4 Plaintiffs’ harm as noted above.

 5         64.   Defendants acted with oppression, and/or malice, thereby entitling
 6 Plaintiff to punitive damages in an amount to be determined at trial. Defendants

 7 acted in a despicable manner and acted with a conscious disregard to the rights of

 8 Plaintiffs.

 9                                COUNT IV
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
10                          (Against All Defendants)
11         65.   Plaintiffs repeat, re-allege, and incorporate by reference, all other
12 paragraphs.

13         66.   Defendants engaged in extreme, outrageous and unreasonable acts, in
14 conscious disregard of the law, as described above. These acts went beyond the

15 bounds of decency expected in a civilized society.

16         67.   Defendants engaged in their outrageous conduct with the intent to
17 cause Plaintiffs to suffer severe emotional distress and with the realization that

18 injury to Plaintiffs would result and/or engaged in their outrageous conduct with
19 reckless disregard of the probability of causing Plaintiffs to suffer severe emotional

20 distress.

21         68.   The communications by Defendants have caused Plaintiffs to suffer
22 extreme stress and anxiety which resulted in Plaintiffs losing sleep.

23         69.   As a direct and proximate result of Defendants’ outrageous conduct,
24 Plaintiffs have suffered and continue to suffer from severe emotional distress,

25 including, but not limited to: humiliation, sleeplessness, nervousness, fear of

26 answering the door, embarrassment when speaking with family, friends, or co-
27 workers, depression, feelings of guilt, helplessness, appetite and/or weight loss or

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 1 overeating and weight gain, restless or irritability, and headaches. Plaintiffs have

 2 suffered and continue to suffer from anxiety and distress.

 3         70.     As a proximate result of Defendants’ conduct, Plaintiffs have suffered
 4 damages in an amount to be determined according to proof at trial.

 5         71.     Defendants acted with malice, oppression, and/or fraud toward, within
 6 the meaning of Cal Civil Code §3294, thereby entitling Plaintiffs to an award of

 7 punitive damages. Defendants’ corporate officers, directors, or managing agents

 8 are personally guilty of oppression, fraud, or malice, had advance knowledge of the

 9 unfitness of the employees who acted towards Plaintiffs with malice, oppression,

10 or fraud, employed such employees with conscious disregard for the rights or

11 safety of others and/or themselves authorized or ratified the wrongful conduct.

12                               VI. PRAYER FOR RELIEF
13         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
14 in his favor as follows:

15 A.      For the FIRST CAUSE OF ACTION:
16         (i)     An award of actual damages pursuant to 15 U.S.C. §1692k(a)(1),
17                 including emotional distress.
18         (ii)    An award of the maximum statutory damages for Plaintiffs pursuant
19                 to 15 U.S.C. § 1692k(a)(2)(A);
20         (iii)   Attorney’s fees, litigation expenses, and costs pursuant to 15 U.S.C. §
21                 1692k(a)(B)(3); and
22         (iv)    For such other and further relief as may be just and proper.
23 B.      For the SECOND CAUSE OF ACTION:
24         (v)     An award of actual damages pursuant to Cal. Civil Code §1788.30(a),
25                 including emotional distress;
26         (vi)    An award of the maximum statutory damages for Plaintiffs pursuant
27                 to Cal. Civil Code §1788.30(b);
28         (vii) Attorney’s fees, litigation expenses, and costs pursuant to Cal. Civil
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 1                Code §1788.30(c); and
 2         (viii) For such other and further relief as may be just and proper.
 3 C.      For the THIRD CAUSE OF ACTION:
 4         (ix)   For an award of actual, compensatory and incidental damages in an
 5                amount to be proved at trial; and
 6         (x)    For such other and further relief as may be just and proper.
 7 D.      For the FOURTH CAUSE OF ACTION:
 8         (xi)   For an award of actual, compensatory and incidental damages in an
 9                amount to be proved at time of trial;
10         (xii) For an award of punitive damages in an amount to be determined at
11                trial because Defendants’ actions were oppressive, fraudulent, or
12                malicious; and
13         (xiii) For such other and further relief as may be just and proper.
14         Plaintiff hereby requests trial by jury.
15 Dated: April 20, 2015                    LAW OFFICES OF BARAK BERLIN
16

17
                                            /s/ Barak J. Berlin
18                                          BARAK J. BERLIN
19

20
                                            LAW OFFICES OF CRAIG FRIEDBERG

21

22                                          /s/ Craig Friedberg
23                                          CRAIG FRIEDBERG
24
                                            Attorneys for Plaintiffs
25                                          David and Julie Weathersby
26
27

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